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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION


 CHARLES LYONS,

        Plaintiff,
                                                CIVIL ACTION FILE
 v.
                                                NO. l:24-CV-0033-MHC
 US LIVING LLC, YEHONOTAN
 SADE and SADE CAPITAL,

       Defendants.


                                       ORDER

      On January 3, 2024, Magistrate Judge John K. Larkins, III, entered an Order

[Doc. 2] permitting Plaintiff Charles Lyons ("Lyons") to proceed in forma pauperis

in this action. The case was then referred to the undersigned for a 28 U.S.C.

§ 1915(e) frivolity determination.

I.    LEGAL STANDARD

      A federal court is required to dismiss an in forma pauperis complaint at any

time if the court determines that the action is (1) frivolous or malicious, (2) fails to

state a claim on which relief may be granted, or (3) seeks monetary relief against a

defendant who is immune from such relief. 28 U.S.C. § 1915(e)(2). A claim is

frivolous "where it lacks an arguable basis either in law or fact." Neitzke v.
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Williams, 490 U.S. 319,325 (1989). A complaint may be dismissed for failure to

state a claim if it does not plead "enough facts to state a claim to relief that is

plausible on its face." Bell Atl. Corp. v. Twombly. 550 U.S. 544, 570 (2007).

Federal Rule of Civil Procedure 8(a)(2) provides that a complaint need only

contain "a short and plain statement of the claim showing that the pleader is

entitled to relief," in order to "give the defendant fair notice of what the ... claim

is and the grounds upon which it rests." Id. at 555 (quoting Conley v. Gibson, 355

U.S. 41, 47 (1957)). A plaintiff, however, may not simply plead facts in a

complaint sufficient to find that a claim to relief is merely conceivable; instead, the

complaint must set forth "enough facts to state a claim to relief that is plausible on

its face." Id. at 570. The Supreme Court has also instructed:

      [d]etermining whether a complaint states a plausible claim for relief
      will ... be a context-specific task that requires the reviewing court to
      draw on its judicial experience and common sense. But where the well-
      pleaded facts do not permit the court to infer more than the mere
      possibility of misconduct, the complaint has alleged-but has not
      "shown"-that the pleader is entitled to relief.

Ashcroft v. Iqbal, 556 U.S. 662,679 (2009) (quoting Fed. R. Civ. P. 8(a)(2)) (other

citations omitted).

      The Court notes that, because Lyons is proceeding prose, his "pleadings are

held to a less stringent standard than pleadings drafted by attorneys and will,

therefore, be liberally construed." Tannenbaum v. United States, 148 F.3d 1262,
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1263 (11th Cir. 1998). However, this "does not give a court license to serve as

[her] de facto counsel ... , or to rewrite an otherwise deficient pleading in order to

sustain an action." Powers v. Avondale Baptist Church, 393 F. App'x 656, 657

(11th Cir. 2010) (internal quotation marks omitted). Moreover, nothing in the

leniency accorded a pro se filing excuses a plaintiff from compliance with the

threshold requirements of the Federal Rules of Civil Procedure. See, e.g.,

Trawinski v. United Techs., 313 F.3d 1295, 1297 (11th Cir. 2002).

II.   DISCUSSION

      Lyons filed his Complaint [Docs. 3 and 3-1] 1 against Defendants Yehonotan

Sade ("Sade"), Sade Capital, and US Living LLC ("US Living"), seeking

$2,500,000.00 in "statutory, actual and punitive damages" for "toxic mold

exposure, breach of contract, negligence, and failure to disclose of mold at

property." Compl. Form at 4-5. Lyons alleges that, in July 2019, he submitted a

maintenance request via the resident portal at The Fields Retreat Peachtree, which

is managed and owned by Defendants, because the ceiling in his bathroom "had

caved in due to running water from the unit above." Compl. at 2. Lyons further

alleges that there was "significant mold in the unit" before the ceiling caved in. Id.


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 Lyons filed a typewritten Complaint ("Compl.") [Doc. 3], along with a filled-out
Complaint for Civil Damages Form ("Compl. Form") [Doc. 3-1].

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Defendants failed to respond to Lyons's requests for repairs "for weeks," and

"[t]he water damage caused toxic mold and mildew to set in throughout the whole

unit." Id. Lyons alleges that he became ill due to the toxic mold exposure, and

that "everything inside [the unit] had to be thrown away." Id. Lyons claims that

( 1) Defendants' failure to respond to the requests constituted a breach of a

"contractually binding agreement to fix necessary repairs," (2) Defendants'

negligence caused Lyons's exposure to toxic mold and mildew, which put Lyons's

health at risk, and (3) Defendants "failed to disclose the condition of the unit

concerning the toxic mold, which was present when [Lyons] signed the contract

[for] the unit." Id.

      A.      Subject Matter Jurisdiction

      Lyons purports to invoke both federal question and diversity of citizenship

jurisdiction. Addressing first federal question jurisdiction, the Court finds that

Lyons's Complaint does not raise a question of federal law. Whether federal

question jurisdiction exists "is governed by the 'well-pleaded complaint rule,'

which provides that federal jurisdiction exists only when a federal question is

presented on the face of the plaintiffs properly pleaded complaint." Caterpillar,

Inc. v. Williams, 482 U.S. 386, 392 (1987). Lyons's Complaint does not allege

any violations of federal law or any of Plaintiffs federal constitutional rights.

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Although Lyons references 41 U.S.C. § 6503, Title 41 of the United States Code

provides for and governs public contracts, i.e., contracts involving the U.S.

Government, and the Code section referenced by Lyons concerns breach of such a

public contract for materials, supplies, articles, and equipment. Lyons does not

allege that any Defendant is an agent of the United States; thus, 41 U.S.C. § 6503

is not relevant to his claims against any Defendant. 2

      Furthermore, a review of the record in this case reveals that Lyons has not

sufficiently alleged that the parties are diverse. "Diversity jurisdiction exists over a

controversy between citizens of different states." McCormick v. Aderholt, 293

F.3d 1254, 1257 (11th Cir. 2002) (citing 28 U.S.C. § 1332(a)). "[A] corporation

shall be deemed to be a citizen of every State and foreign state by which it has

been incorporated and of the State or foreign state where it has its principal place

of business .... " 28 U.S.C. § 1332(c)(l). "For the purpose of determining

diversity jurisdiction, a limited liability company is a citizen of any state in which a

member of its company is a citizen." Flintlock Constr. Servs., LLC v. Well-Come

Holdings, LLC, 710 F.3d 1221, 1224 (11th Cir. 2013). "To sufficiently allege the


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 The Court also notes that 28 U.S.C. § 1332, the other federal statute cited by
Lyons, does not form the basis for any private cause of action but confers federal
courts with original jurisdiction over actions between diverse citizens where the
amount in controversy exceed $75,000, as explained in more detail below.

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citizenships of these unincorporated business entities, a party must list the

citizenships of all the members of the limited liability company and all the partners

of the limited partnership." Rolling Greens MHP, L.P. v. Comcast SCH Holdings

L.L.C., 374 F.3d 1020, 1022 (11th Cir. 2004).

       Although Lyons has sufficiently pleaded that he is a citizen of Georgia, that

Sade, an individual, is a citizen of Texas, and that Sade Capital, presumably a

corporation, is a citizen of Texas, Lyons fails to list the citizenship of all the

members of US Living, as required for limited liability companies. Accordingly,

the Court cannot determine whether complete diversity of citizenship exists

between Lyons and all Defendants.

       Further, although Lyons seeks $2,500,000 in damages, he does not

substantiate this claim for relief with any allegations of what the basis of his

damages may be. See Compl. Form at 4 (asking the plaintiff to explain why the

amount in controversy exceed $75,000, in response to which Lyons simply

answered, "$2,500,000"). Although the federal rules do not require specific facts

to be pleaded for every element of a claim, or that claims be pleaded with

precision, "it is still necessary that a complaint contain either direct or inferential

allegations respecting all the material elements necessary to sustain a recovery

under some viable legal theory." Fin. Sec. Assurance, Inc. v. Stephens, Inc., 500

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F.3d 1276, 1282-83 (11th Cir. 2007) (internal citations omitted); see also Bradley

v. Kelly Servs., Inc., 224 F. App'x 893, 895 (11th Cir. 2007) ("A conclusory

allegation that the jurisdictional amount is satisfied, without setting forth the

underlying facts supporting such an assertion, is insufficient to meet the plaintiffs

burden.") (internal punctuation accepted, quotation and citation omitted).

      B.     Statute of Limitations

      The Eleventh Circuit has held that, when a district court reviews a complaint

under 28 U.S.C. § 1915, "[t]he expiration of the statute of limitations is an

affirmative defense the existence of which warrants a dismissal as frivolous."

Clark v. Ga. Pardons & Paroles Bd., 915 F.2d 636, 640 n.2 (11th Cir. 1990). "[I]n

a diversity case, the district court applies the forum state's choice-of-law rules.

Under Georgia law, and the rule of lex Jori, 'procedural or remedial questions are

governed by the law of the forum, and statutes of limitations are considered

procedural." McCabe v. Daimler AG, 948 F. Supp. 2d 1347, 1361 (N.D. Ga.

2013). Lyons brings claims that appear to sound in contract, 3 negligence, and

misrepresentation.


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  Under Georgia law, the statute of limitations for actions arising out of contract is
six years. O.C.G.A. § 9-3-24 ("All actions upon simple contracts in writing shall
be brought within six years after the same became due and payable."). "[W]ith
respect to a breach of contract claim the statute of limitation runs from the time the
contract is broken rather than from the time the actual damage results or is
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             1.     Statute of Limitations for Actions Arising Out of Negligence

      Under Georgia law, claims for "injuries to the person" must be brought

within two years after the right of action accrues, O.C.G.A. § 9-3-33, and claims

for damage to personal property must be brought within four years after the right

of action accrues,§ 9-3-31. "[A] cause of action in negligence accrues and the

statute of limitations begins to run when there is a negligent act coupled with a

proximately resulting injury." Wilks v. Overall Constr., Inc., 296 Ga. App. 410,

413 (2009) (quoting Travis Pruitt & Assoc. v. Bowling. 238 Ga. App. 225,226

(1999)) (emphasis omitted).

      Lyons alleges that the ceiling of his bathroom caved in in July 2019, and that

it took weeks for Defendants to respond to his maintenance requests and repair the

ceiling. Compl. at 2. Lyons alleges that he "became ill due to the toxic mold

exposure," and that "everything inside had to be thrown away." Id. Thus, Lyons

had until July 2021 to file his claim to recover for personal injury, and he had until

July 2023 to file his claim to recover for damage to personal property. However,


ascertained." Hamburger v. PFM Cap. Mgmt., Inc., 286 Ga. App. 382, 385 (2007).
Lyons alleges that Defendants breached the lease agreement in July 2019 when
they failed to timely make repairs in his leased apartment. Because the statute of
limitations on his breach of contract claim is set to expire in July 2025, and
because Lyons filed his complaint on January 3, 2024, his breach of contract claim
was filed within the applicable limitations period.

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Lyons did not file his Complaint until January 3, 2024. Accordingly, it appears on

the face of the Complaint that Lyons's claims to recover for both his illness and

damage to personal property arising out of Defendants' alleged negligence are

barred by the statute of limitations. Furthermore, nothing on the face of the

Complaint suggests any action or omission by Defendants or other event that

would have tolled the running of the statute of limitations. See, e.g., O.C.G.A.

§ 93-3-96 (tolling the statute of limitations for fraudulent concealment of the cause

of action). Accordingly, all ofLyons's claims sounding in negligence are barred

by the statute of limitations and, therefore, subject to dismissal as frivolous. See

Garza v. Hudson, 436 F. App'x 924, 925 (11th Cir. 2011) ("In those cases in which

the statute of limitations had expired prior to filing, a dismissal for frivolity is

warranted and the court need not wait for the limitations issue to be raised in a

defensive pleading if the issue is apparent on the face of the complaint.") (citing

Clark, 915 F.2d at 640-41 n.2).

              2.     Statute of Limitations for Misrepresentation Claim

       Construing Lyons's "failure to disclose" claim as one arising under fraud or

misrepresentation, such claims are also barred by the statute of limitations. Under

Georgia law, "[a] four-year statute of limitations applies to actions for fraud and

negligent misrepresentation." Mbigi v Wells Fargo Home Mortg., 336 Ga. App.

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316,325 (2016) (citing O.C.G.A. § 9-3-31). Such limitations period begins to run

when the actual injury occurs, not when the misrepresentations are made.

Hardaway Co. v. Parson, Brinckerhoff, Quade & Douglas, Inc., 267 Ga. 424, 427

(1997). Here, Lyons alleges that Defendants "failed to disclose the condition of

the unit concerning the toxic mold, which was present when Plaintiff signed the

contract [for] the unit." Compl. at 2. But Lyons's injuries from Defendants'

failure to disclose occurred in July 2019, causing water damage and the ensuing

mold and mildew. Id. Accordingly, Lyons had until July 2023 to file his claim for

injuries arising out of Defendants' alleged fraud or misrepresentation. Because his

claims are barred by the statute of limitations, they are subject to dismissal as

frivolous.

III.   CONCLUSION

       Precedent in this circuit holds that "when a more carefully drafted complaint

might state a claim, a plaintiff must be given at least one chance to amend the

complaint before the district court dismisses the action with prejudice." Gary v.

U.S. Gov't, 540 F. App'x 916, 917 (11th Cir. 2013) (citing Bank v. Pitt, 928 F.2d

1108, 1112 (11th Cir. 1991), overruled in part by Wagner v. Daewoo Heavy Indus.

Am. Corp., 314 F.3d 541,542 & n.1 (11th Cir. 2002) (en bane) (holding that the

court was not required to sua sponte grant leave to amend to counseled plaintiffs

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who never requested such leave, but noting that the holding did not disturb a pro se

litigant's right to amend).

   Accordingly, it is hereby ORDERED that Plaintiff Charles Lyons file an

Amended Complaint within fourteen (14) days from the date of this Order. The

Amended Complaint must do the following:

      (1)    Address the shortcomings noted herein, including identifying the basis
             for his claim that he suffered $2,500,000 in damages and listing the
             citizenships of all the members of US Living;

      (2)    Comply with the pleading requirements of Federal Rule of Civil
             Procedure 8;

      (3)    Exclude any claim for personal injury or damage to personal property
             arising out of Defendants' alleged negligence, fraud, or negligent
             misrepresentation as barred by the statute of limitations;

      (4)    Identify each cause of action in separate counts of the complaint and
             provide within each count a short explanation of the legal theory for
             the claim;

      ( 5)   Include a factual background setting forth specific, non-conclusory
             factual allegations that directly pertain to Plaintiffs case against
             Defendant and suggest support for the required elements of his claim;

      (6)    Identify the particular defendant( s) against whom each particular
             cause of action is brought;

      (7)    Identify by reference which specific factual allegations and acts by
             Defendant support each cause of action within each count of the
             Complaint; and

      (8)    Exclude all generalized discussions and immaterial allegations.

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      If Lyons fails to file an amended complaint within the allowed time period

that complies with this Order, this case will be dismissed.

      IT IS SO ORDERED this 11th day of March, 2024.




                                       MARK H. COHEN
                                       United States District Judge




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